
Bx the transcript of the justice, it appeared that a summons had been issued by the justice, against Henry [*] Zane, the plaintiff in certiorari, at the suit of the defendant in this Court. The constable returned the summons duly served. The plaintiff below, filed an account as follows:-—
To beef, sausages and pork $10 00
To amount of account in Thomas Girn's ledger, for which
I have a power of attorney, 20 00
S30 00
The justice in his record says, the defendant not appearing, I proceeded to go on with the trial: After examining the account, gave judgment against the defendant for SI 7 65 debt: 24th February issued execution for debt and costs of suit. — It was alleged for error,
1. That the return of the summons did not give the justice authority to try the cause in the absence of the defendant, as the time and manner of service of the summons ought to appear by the return.
2. That the state of demand did not contain a sufficient cause of action; part of it containing the legal demand of another person, and ought to have been sued in that person’s name; and that the plaintiff recovered more than his own legal demand.
3. That no witness was examined; therefore, there was a trial and judgment without evidence.
4. That there was no judgment for costs, yet execution issued for costs.
All this appearing by the record, the Court
Reversed the judgment.
